Case 2:05-cr-00192-WFN   ECF No. 433   filed 10/09/08   PageID.2661 Page 1 of 6
Case 2:05-cr-00192-WFN   ECF No. 433   filed 10/09/08   PageID.2662 Page 2 of 6
Case 2:05-cr-00192-WFN   ECF No. 433   filed 10/09/08   PageID.2663 Page 3 of 6
Case 2:05-cr-00192-WFN   ECF No. 433   filed 10/09/08   PageID.2664 Page 4 of 6
Case 2:05-cr-00192-WFN   ECF No. 433   filed 10/09/08   PageID.2665 Page 5 of 6
Case 2:05-cr-00192-WFN   ECF No. 433   filed 10/09/08   PageID.2666 Page 6 of 6
